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                                 ANNA MARIE RICHMOND
                                      ATTORNEY AT LAW


Via cm/ecf and email.

                                                     May 31, 2022


Honorable John L. Sinatra, Jr.
U.S. District Judge
2 Niagara Square
Buffalo, NY 14202
                                               Re:   Klymn v. Monroe County Supreme Court, et
                                                     al., 21‐cv‐6488 JLS
Dear Judge Sinatra

I write with the consent of all counsel to provide a joint status report in the above‐referenced
matter.

The parties and counsel met with Ann E. Evanko, Esq. for mediation sessions on April 14, and
May 23, 2022. The matter did not settle. No further mediation sessions are scheduled at this
time.

Thank you for your attention to this matter.

                                                     Very truly yours,
                                                     Anna Marie Richmond
                                                     Anna Marie Richmond
Encl.
C (via cm/ecf):         A. Evanko, Esq.
                        L. Korn, Esq.
                        H. McKay, Esq.
                        P. Morales, Esq.
                        T. O’Brien, Esq.
                        M. Rothenberg, Esq.
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